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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )
           Plaintiff,                                )
                                                     )
v.                                                   ) No. 4:19-cr-00375-CDP
                                                     )
SHEILA SWEENEY,                                      )
                                                     )
           Defendant.                                )

                          STATEMENT OF THE GOVERNMENT
                          REGARDING PRESENTENCE REPORT

     Comes now the United States of America, by and through its attorneys, Reginald Harris,

Attorney for the United States Acting Under Authority Conferred by 28 U.S.C. Section 515, and

Hal Goldsmith, Assistant United States Attorney for the Eastern District of Missouri, and

pursuant to Paragraph 7 of the Administrative Order of this Court (July 12, l988), states that the

Government accepts and has no objection to the Presentence Report.

                                              Respectfully submitted,

                                              REGINALD HARRIS
                                              Attorney for the United States
                                              Acting Under Authority Conferred by
                                              28 U.S.C. Section 515


                                               /s/ Hal Goldsmith
                                              HAL GOLDSMITH, #32984MO
                                              Assistant United States Attorney
                                              111 South 10th Street, Room 20.333
                                              St. Louis, Missouri 63102
                                              (314) 539-2200
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                                 CERTIFICATE OF SERVICE

I hereby certify that on July 29, 2019, the foregoing was filed electronically with the Clerk of
Court to be served by operation of the Court’s electronic filing system upon all counsel of
record.


                                              /s/ Hal Goldsmith
                                              HAL GOLDSMITH, #32984MO
                                              Assistant United States Attorney
